   Case 1:25-cv-11048-ADB          Document 1-12   Filed 04/21/25   Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                            Plaintiff,
              v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
NATIONAL INSTITUTES OF HEALTH;
ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of the United States
Department of Health and Human Services;
UNITED STATES DEPARTMENT OF
JUSTICE; PAMELA J. BONDI, in her
official capacity as Attorney General of the
United States; UNITED STATES
DEPARTMENT OF EDUCATION; LINDA
M. MCMAHON, in her official capacity as
Secretary of the United States Department of
Education; UNITED STATES GENERAL                      Case No. _________
SERVICES ADMINISTRATION;
STEPHEN EHIKIAN, in his official capacity
as Acting Administrator of the United States
General Services Administration; UNITED
STATES DEPARTMENT OF ENERGY;
CHRISTOPHER A. WRIGHT, in his official
capacity as Secretary of the United States
Department of Energy; UNITED STATES
NATIONAL SCIENCE FOUNDATION;
SETHURAMAN PANCHANATHAN, in his
official capacity as Director of the United
States National Science Foundation;
UNITED STATES DEPARTMENT OF
DEFENSE; PETER B. HEGSETH, in his
official capacity as Secretary of the United
States Department of Defense; NATIONAL
AERONAUTICS AND SPACE
ADMINISTRATION; and JANET E.
PETRO, in her official capacity as Acting
Administrator of the National Aeronautics
and Space Administration,
                            Defendants.
        Case 1:25-cv-11048-ADB           Document 1-12         Filed 04/21/25   Page 2 of 4




                             CERTIFICATE OF RELATED CASE

        1.      Pursuant to Local Rule 40.1(g)(5)(B), Plaintiff President and Fellows of Harvard

College hereby certifies that this case is related to a previously filed case, American Association

of University Professors—Harvard Faculty Chapter v. United States Department of Justice¸ No.

1:25-cv-10910-ADB (D. Mass. Apr. 11, 2025) (the “AAUP case”), currently pending before the

Honorable Allison D. Burroughs.

        2.      Under Local Rule 40.1(g)(1), “a civil case shall be deemed related to another civil

case” if (A) “some or all of the parties are the same,” and (B) “the cases involve the same or

substantially similar issues of fact” or “arise out of the same occurrence, transaction or property.”

L.R. 40.1(g)(1)(A), (B)(i)-(ii). Both criteria are satisfied here.

        3.      The first criterion is satisfied because some of the defendants in each case are the

same.

        4.      The second criterion is satisfied because the cases do not just involve “common

question[s] of law” or the “same or substantially similar challenges to a law, regulation, or

government policy or practice,” L.R. 40.1(g)(3), but also involve “substantially similar issues of

fact,” L.R. 40.1(g)(1)(B)(i), creating the risk of inconsistent factual determinations and judgments

should the cases not be deemed related.

        5.      Plaintiffs in both actions challenge the unlawful actions related to federal funding

for Harvard University. Both the plaintiffs in the AAUP case (members of Harvard’s faculty) and

Plaintiff here (Harvard University itself) allege that they will be harmed in a substantially similar

manner. Cf. Conservation Law Found., Inc. v. Mass. Water Res. Auth., No. 1:22-cv-10626-AK,

2023 WL 1111135, at *2 (D. Mass. Jan. 30, 2023) (Kelley, J.) (deeming related two cases

concerning “the same authority[’s]” regulatory “compliance” at the “same treatment plant”).

        6.      Moreover, failing to deem these cases related would subject both defendants and


                                                   2
      Case 1:25-cv-11048-ADB           Document 1-12        Filed 04/21/25      Page 3 of 4




plaintiffs to the risk of inconsistent factual determinations. Those inconsistent factual

determinations could, in turn, subject the parties to conflicting court orders, further demonstrating

that the two cases “involve the same or substantially similar issues of fact.” L.R. 40.1(g)(1)(B)(i);

see Order, New Jersey v. Trump, No. 25-cv-10139-LTS (D. Mass Jan. 24, 2025) (ECF No. 71)

(determining cases related under L.R. 40.1(g)(1) where “random reassignment of th[e] case poses

a risk of different determinations as to the same factual issues, as well as a possible risk that

Defendants might become subject to conflicting court orders regarding their treatment of Ms. Doe

and members of the organizations that are also plaintiffs in the Doe case”).

       7.      Furthermore, because both the plaintiffs in the AAUP case and Plaintiff here face

substantially similar irreparable harms from actions related to federal funding at Harvard, both sets

of plaintiffs seek equitable relief barring defendants from implementing their actions. There is thus

further overlap in the factual determinations that the Court will need to make in both cases.

       8.      Accordingly, Plaintiff respectfully requests that this case be deemed related to the

prior pending AAUP case and assigned to Judge Burroughs.




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     Case 1:25-cv-11048-ADB      Document 1-12         Filed 04/21/25    Page 4 of 4




Dated: April 21, 2025                          Respectfully submitted,

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